Case 1:16-cr-20146-TLL-PTM ECF No. 58, PageID.175 Filed 06/29/16 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,
                                                            Case Number: 16-cr-20146
v.
                                                            Honorable Thomas L. Ludington
D-3 WILLIAM CARLSON,                                        Magistrate Judge Patricia T. Morris

                  Defendant.
_______________________________________/

       ORDER ADOPTING REPORT AND RECOMMENDATION, ACCEPTING
       DEFENDANT’S PLEA OF GUILTY, AND TAKING THE RULE 11 PLEA
                   AGREEMENT UNDER ADVISEMENT

       On June 8, 2016, United States Magistrate Judge Patricia T. Morris conducted a plea

hearing pursuant to Defendant William Carlson’s consent. The Magistrate Judge issued her

report that same day, recommending that this Court accept Defendant’s plea of guilty. ECF No.

53.

       Although the Magistrate Judge’s report explicitly stated that the parties to this action

could object to and seek review of the recommendation within fourteen days of service of the

report, neither Plaintiff nor Defendant filed any objections. The failure to file objections waives

any right to appeal the magistrate judge’s findings that Defendant was competent to enter a plea,

and that the plea was entered knowingly, voluntarily, without coercion, and with a basis in fact.

See Fed. R. Crim. P. 11(b); Thomas v. Arn, 474 U.S. 140, 149 (1985).

       Accordingly, it is ORDERED that the Magistrate Judge’s Report and Recommendation,

ECF No. 53, is ADOPTED.
Case 1:16-cr-20146-TLL-PTM ECF No. 58, PageID.176 Filed 06/29/16 Page 2 of 2




       It is further ORDERED that Defendant’s plea of guilty is ACCEPTED, and the Rule 11

Plea Agreement, ECF No.52, is taken UNDER ADVISEMENT.



Dated: June 29, 2016                                                         s/Thomas L. Ludington
                                                                             THOMAS L. LUDINGTON
                                                                             United States District Judge




                                               PROOF OF SERVICE

                       The undersigned certifies that a copy of the foregoing order was served
                       upon each attorney or party of record herein by electronic means or first
                       class U.S. mail on June 29, 2016.

                                                         s/Michael A. Sian
                                                         MICHAEL A. SIAN, Case Manager
